     Case 4:20-cv-02078-MWB Document 203 Filed 11/21/20 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                              No. 4:20-CV-02078
PRESIDENT, INC., et al.,
                                                 (Judge Brann)
            Plaintiffs,

      v.

KATHY BOOCKVAR, et al.,

           Defendants.

                                   ORDER

     AND NOW, this 21st day of November 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    Defendants’ motions to dismiss the First Amended Complaint (Docs.

           127, 135, 140, 145, 161, and 165) are GRANTED WITH

           PREJUDICE. NO LEAVE TO AMEND IS GRANTED.

     2.    Defendants’ motions to dismiss the original complaint (Docs. 81, 85,

           90, 92, 96, and 98) are DENIED AS MOOT.

     3.    Plaintiffs’ motion for leave to file a second amended complaint (Doc.

           172) is DENIED AS MOOT.

     4.    Plaintiffs’ motions for preliminary injunction (Docs. 89 and 182) are

           DENIED AS MOOT.

     5.    Plaintiffs’ motions regarding discovery (Docs. 118 and 171) are

           DENIED AS MOOT.
Case 4:20-cv-02078-MWB Document 203 Filed 11/21/20 Page 2 of 2




6.   Further motions regarding amicus briefing and intervention (Docs.

     166, 180, and 200) are DENIED AS MOOT.

7.   The case is dismissed and the Clerk of Court is directed to close the

     case file.

                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      United States District Judge




                                -2-
